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 1                                                               Hon. Richard A. Jones
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 7                       UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF WASHINGTON
 8                                AT SEATTLE
 9
     UNITED STATES OF AMERICA,
10                                                    No. CR12-95RAJ
                          Plaintiff,
11
            v.                                        ORDER ON DEFENDANT’S
12                                                    MOTION FOR TERMINATION
     ALEXANDER OLIVIO-ALTHEIMER,                      OF SUPERVISED RELEASE
13
                          Defendant.
14

15       THIS MATTER comes before the court on Defendant’s Motion for
16   Termination of Supervised Release (Dkt. #195). The court has reviewed
17   Defendant’s motion, and the files and pleadings herein, including the report from
18   United States Probation Officer Lisimba Jackson, and being fully advised,
19       IT IS ORDERED that Defendant’s Motion (Dkt. #195) is DENIED.

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         DATED this 3rd day of November, 2017.
                                                       A
                                                       The Honorable Richard A. Jones
                                                       United States District Judge
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      ORDER - 1
